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 July 31, 2020

 VIA ECF

 The Honorable Joseph A. Dickson
 United States District Court
 District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street Room 4015
 Newark, NJ 07101

          Re:        White et al. v. Samsung Electronics America, Inc. et al., 2:17-cv-01775-MCA-JAD

 Dear Judge Dickson:

          We write this letter on behalf of Sony Electronics Inc. (“Sony”) in response to Plaintiffs’
 letter of July 29, 2020 [DE #153]. Though Plaintiffs’ claims against Sony and Samsung have been
 severed, Samsung, which also has a pending motion to compel individual arbitration, joins in this
 letter to avoid burdening the Court with another letter on the same topic.

          As the Court is aware, Sony and Samsung have each moved to compel enforcement of their
 respective arbitration agreements with Plaintiff White. Samsung also sought to compel arbitration
 as to Plaintiff Cauley. Sony provided the relevant arbitration agreement to Plaintiff White before
 filing its motion and, upon filing its motion, Sony included a second copy of the arbitration
 agreement. [DE #139-2]. Likewise, prior to the filing of its motion to compel arbitration, Samsung
 advised Plaintiff Cauley of the relevant arbitration agreement with Samsung and demanded
 arbitration accordingly. [DE # 143-4].

         Also, as the Court is aware, the parties have stipulated that discovery will be taken on an
 individual basis pending resolution of these motions. [DE #146-1]. See also [DE #152] (ordering
 that discovery be taken on an individual basis).

        Having provided the relevant agreements, and having secured agreement that discovery
 would consist of only individual issues, Defendants were surprised by Plaintiffs’ demand for
 “class-wide” discovery on arbitration agreements:



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        any and all arbitration agreements (and/or waiver of class action provisions)
        respecting the model Smart TV’s at issue in the case (from the time defendants first
        sold those Smart TVs to the present), including the specific arbitration (and/or
        waiver of class action provisions) that existed on the date this action was originally
        filed against each respective defendant.

         In meet and confer communications (attached as Ex. A), Defendants explained that other
 agreements, if they exist, involving other models and other consumers, have no bearing on whether
 Plaintiffs here agreed to arbitrate or whether Defendants here “waived” their right to arbitrate in
 this case. The existence (or non-existence) of those other agreements would not change any of the
 potentially relevant dates in this case, as to these consumers, from the filing of the initial
 (voluntarily dismissed) Complaint to the filing of the current Motion. The existence (or non-
 existence) of those other agreements would not vary the terms of the arbitration agreements agreed
 to by Plaintiffs. Despite asking Plaintiffs to explain the factual and legal basis for the discovery
 sought, Plaintiffs’ Counsel simply asserted that the discovery was “relevant.”

         Plaintiffs’ Counsel’s July 29, 2020 letter attached an unpublished, non-precedential
 decision. Price v. UBS Financial Services, Inc., docketed in the United States District Court for
 the District of New Jersey as docket number 2:17-01882 as [DE #153-1]. Price does not support
 Plaintiffs’ proposition that the party seeking to establish that a defendant waived its right to
 arbitrate under one agreement is entitled to discovery concerning agreements the defendant may
 have had with other consumers spanning multiple years and models. Nothing supports that
 proposition.

         Should the Court desire additional briefing on this issue, the Defendants would be happy
 to provide that to the Court.

         Therefore, respectfully, Sony and Samsung ask the Court to deny Plaintiffs’ request for
 this discovery at this time.


 Sincerely yours,

 /s/ Mark S. Melodia
 Mark S. Melodia

 MSM:tl

 cc: All parties (via ECF)
